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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

------------------------------------------------------x
                                                      :
In re:                                                :   Chapter 11
                                                      :
HO WAN KWOK,                                          :   Case No. 22-50073 (JAM)
                                                      :
                  Debtor.                             :
                                                      :
------------------------------------------------------x

ORDER, PURSUANT TO BANKRUPTCY CODE SECTIONS 363, 521, 541, 1108, AND
1505, (A) CONFIRMING THAT CHAPTER 11 TRUSTEE HOLDS ALL OF DEBTOR’S
       ECONOMIC AND CORPORATE GOVERNANCE RIGHTS IN DEBTOR-
CONTROLLED ENTITIES, (B) AUTHORIZING CHAPTER 11 TRUSTEE TO ACT IN
    ANY FOREIGN COUNTRY ON BEHALF OF ESTATE, AND (C) GRANTING
                           RELATED RELIEF

        Upon the motion (the “Motion”) of Mr. Luc A. Despins, in his capacity as the chapter 11

trustee (the “Trustee”) appointed in the chapter 11 case of Ho Wan Kwok (the “Debtor”), for the

entry of an order (this “Order”), pursuant to sections 363, 541, 1108, and 1505 of title 11 of the

United States Code (the “Bankruptcy Code”), (a) confirming that the Trustee holds all of the

Debtor’s economic and corporate governance rights in all corporate entities owned and/or

controlled by the Debtor (the “Debtor-Controlled Entities”), including, without limitation,

Genever Holdings Corporation (“Genever (BVI)”) and granting related relief, (b) authorizing the

Trustee to act in any foreign country on behalf of the Debtor’s estate (the “Estate”), and (c)

granting related relief, all as more fully set forth in the Motion; and this Court having jurisdiction

to consider the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and

1334 and the Standing Order of Reference from the United States District Court for the District

of Connecticut (as amended); and consideration of the Motion and the relief requested therein

being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper in this Court
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pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in

the Motion is in the best interest of the Estate, its creditors, and all parties in interest; and due

and sufficient notice of the Motion having been given under the particular circumstances; and it

appearing that no other or further notice need be given; and upon all of the proceedings had

before this Court; and any objections to the relief requested herein having been withdrawn or

overruled on the merits; and after due deliberation and sufficient cause appearing therefor; and

for the reasons stated on the record at the hearings held on August 1, 2022 and August 4, 2022

with respect to the Motion and the additional relief sought through, among other things, the filing

of the revised proposed orders filed on July 31, 2022 [ECF No. 645], August 2, 2022 [ECF No.

671], and August 4, 2022 [ECF No. 681], it is hereby ORDERED THAT:

        1.      The Motion is granted as set forth herein.

        2.      Effective as of entry of the order, dated July 8, 2022, granting the appointment of

Luc A. Despins as the Trustee in the Chapter 11 Case [ECF No. 523], the Trustee holds all of the

Debtor’s economic and governance rights, for the benefit of the Estate, with respect to all

Debtor-Controlled Entities, including, without limitation, Genever (BVI). For the avoidance of

doubt, the foregoing rights include the Trustee’s asserted authority to replace any existing

officer, director, manager, or similar person of the Debtor-Controlled Entities. As part of the

foregoing, to the extent necessary, the Trustee is authorized to act, in his capacity as the chapter

11 trustee in this Chapter 11 Case, as any such officer, director, manager, or similar person who

has been removed.

        3.      In accordance with sections 521(a)(3) and 521(a)(4) of the Bankruptcy Code, the

Debtor is hereby directed to, respectively, (a) cooperate with the Trustee as necessary to enable

the Trustee to perform his duties, including, without limitation, the Trustee’s investigation into



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the assets of the Debtor, and (b) surrender to the Trustee all property of the estate and any

recorded information, including, without limitation, books, documents, records, and papers

relating to property of the estate (including, without limitation, his shares in Genever (BVI) and

all related corporate governance documents). In furtherance of the Debtor’s duties under

sections 521(a)(3) and 521(a)(4) of the Bankruptcy Code, the Debtor is hereby directed to:

       (a)     fill in all missing information and execute each of (i) the share transfer

               instrument, (ii) the director’s resolution with respect to the Debtor’s shares in

               Genever (BVI), and (iii) the director’s resolution related to the restoration of the

               Genever (BVI), submission of the transfer-in pack, and appointment of a new

               registered agent, in each case in the forms attached hereto as Exhibit A (leaving

               such documents in undated form) and deliver, within two business days after

               entry of this Order, such completed and executed documents to the Trustee (who

               will then submit such documents to the new registered agent for Genever (BVI) in

               the British Virgin Islands (“BVI”)) as well as provide the Trustee with the

               information necessary for the Trustee to complete the transfer-in pack of Harneys

               Fiduciary, in the form included in Exhibit A hereto, within two business days

               after entry of this Order (who will then submit the transfer-in pack to the new

               registered agent for Genever (BVI) in the BVI); and

       (b)     deliver, no later than five business days after entry of this Order, a copy of the

               letter in the form attached hereto as Exhibit B (the “Letter to UK Counsel”) to the

               law firm of Harcus Parker Limited, former counsel to the Debtor in the litigation

               styled Kwok Ho Wan, Ace Decade Holdings Limited, and Dawn State Limited v.

               UBS AG (London Branch), Case No. CL-2020-000345, pending in the High Court



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               of Justice, Business and Property Courts of England and Wales, Queen’s Bench

               Division, Commercial Court (the “UBS Litigation”), with a copy of such letter to

               be delivered concurrently to the Trustee. For the avoidance of doubt, the Trustee

               shall be deemed, for all purposes, to be the owner of the Debtor’s claims asserted

               in the UBS Litigation.

       4.      To the extent the Trustee’s exercise of economic and governance rights with

respect to the Debtor-Controlled Entities is deemed to be outside the ordinary course of business,

such exercise by the Trustee of economic and governance rights is hereby approved, as there is

sound business justification for the exercise of such rights, including because the Trustee holds

all of the Debtor’s economic and governance rights with respect to such entities for the benefit of

the Estate. Notwithstanding the applicability of any of Bankruptcy Rule 6004(h) or any other

provisions of the Bankruptcy Rules or the Local Rules of Bankruptcy Practice and Procedure for

the United States Bankruptcy Court for the District of Connecticut to the contrary, the terms and

conditions of this Order shall be immediately effective and enforceable upon its entry, and any

applicable stay of the effectiveness and enforceability of this Order is hereby waived. For the

avoidance of doubt, nothing in this Order authorizes the Trustee to sell, otherwise dispose of,

lease, or encumber any equity in Debtor-Controlled Entities or other assets of the Debtor.

       5.      Pursuant to section 1505 of the Bankruptcy Code, the Trustee is hereby

authorized to act, as the Estate’s foreign representative, in any foreign country on behalf of the

Estate in any way permitted by applicable foreign law for the purpose of (a) investigating,

collecting, and recovering assets of the Debtor located in foreign countries, including relief in

foreign courts in furtherance thereof, as necessary or appropriate, (b) exercising control over the

Debtor-Controlled Entities, including seeking relief in foreign courts in furtherance thereof, as



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necessary or appropriate, and (c) requesting and obtaining corporate documents from appropriate

foreign corporate registries (or similar entities) holding such documents with respect to the

Debtor-Controlled Entities. Without limiting the foregoing, the Trustee is authorized, pursuant

to section 1505 of the Bankruptcy Court, to request and obtain the corporate documents related

to Genever (BVI) from the appropriate BVI entity holding such corporate documents.

       6.      The Debtor shall not interfere with, hinder, or delay the Trustee’s exercise of the

authority under this Order, including any action taken or to be taken by the Trustee in a foreign

court on behalf of the Estate in furtherance of such authority. To the extent the Debtor opposes

the Trustee’s exercise of such authority, the Debtor shall be limited to seeking relief from this

Court (and not the relevant foreign court or other foreign entity, as the case may be) on notice to

parties in interest, to the extent the Debtor can show that he has standing to do so.

       7.      In furtherance of the Trustee’s exercise of the authority under this Order, the

Court respectfully requests the assistance of the foreign courts with respect to the Trustee’s

exercise of corporate control over the Debtor-Controlled Entities, including, without limitation,

Genever (BVI).

       8.      Nothing in this Order shall be deemed to authorize any particular action with

respect to Genever Holdings LLC (“Genever (US)”) in its chapter 11 case pending before the

United States Bankruptcy Court for the Southern District of New York (the “Genever Court”).

The Trustee shall appear before, and seek guidance from, the Genever Court to the extent the

Trustee’s exercise of corporate governance rights with respect to Genever (US) would impact its

chapter 11 case.

       9.      Nothing in this Order shall constitute a ruling or determination regarding the

validity or enforceability of the alleged trust agreement, purportedly dated February 17, 2015 and



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executed by the Debtor, Genever (US), Genever (BVI), and Bravo Luck Limited (the “Alleged

Trust Agreement”), or regarding any challenges to the Alleged Trust Agreement, and all rights of

all parties in respect thereto are preserved.

       10.     The Trustee is authorized and empowered to take all actions necessary to

effectuate the relief granted in this Order.

       11.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       12.     This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



                Dated at Bridgeport, Connecticut this 10th day of August, 2022.




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                                    Exhibit A

                  Share Transfer Form and Director’s Resolution
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                                        GENEVER HOLDINGS CORPORATION
                                                    incorporated in the British Virgin Islands
                                                            Company No. 1862840
                                                               (the Company)




                                                  SHARE TRANSFER INSTRUMENT




I, Ho Wan Kwok, of [insert address] (the Transferor) DO HEREBY transfer to Luc A. Despins, solely in his
capacity as trustee in the chapter 11 case of Ho Wan Kwok, of 200 Park Avenue, New York, New York
10166 (the Transferee), the 1000 shares of US$0.001 par value standing in my name in the share register
of the Company.

This share transfer instrument is governed by British Virgin Islands law.

As witness the hand of the Transferor this _____ day of August, 2022.




 Executed by                                                  )
 Ho Wan Kwok                                                  )
                                                              )




This share transfer instrument is not subject to stamp duty in the British Virgin Islands unless the Company or its direct or indirect subsidiaries
holds real property within the British Virgin Islands. The Company will not treat the Transferee as the registered holder of any shares until the
name of the Transferee has been entered in the share register of the Company.
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                                GENEVER HOLDINGS CORPORATION
                                 Incorporated in the British Virgin Islands
                                          Company No. 1862840
                                            (the Company)

                 WRITTEN RESOLUTIONS OF THE SOLE DIRECTOR OF THE COMPANY


  WHEREAS the Company has received a share transfer dated August _____, 2022 relating to the
  transfer of 1000 shares in the capital of the Company (the Shares) executed by Ho Wan Kwok in
  favour of Luc A. Despins, solely in his capacity as trustee in the chapter 11 case of Ho Wan Kwok,
  of 200 Park Avenue, New York, New York 10166 (the Transferee), together with a certificate
  representing the Shares (the Certificate).


  I, the undersigned, being the sole director of the Company, DO HEREBY ADOPT the following
  resolutions:


  1.      the transfer of the Shares be and is hereby approved;

  2.      the Certificate be and is hereby cancelled;

  3.      a new certificate relating to the Shares and signed by the director of the Company be
          issued under the common seal of the Company to the Transferee;

  4.      the registered agent of the Company be and is hereby authorised and directed to update
          the Company’s share register; and

  5.      any of the foregoing which have been done on or before the date hereof be and are
          hereby adopted, ratified, confirmed and approved.

  Ho Wan Kwok hereby confirms that he is the Transferor and therefore has an interest in and
  connection with the transactions contemplated by these resolutions.

  I have executed this director’s resolution this ……. day of August 2022.




  _______________________________


  Ho Wan Kwok – Director
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Transfer-In Pack – BVI Business Company


       ADDITIONAL SERVICES


       Company Secretarial Services


       Our company administration teams provide secretarial and administrative support including acting as company secretary
       throughout the life of a business or project. This includes maintenance of company records.


       Nominee Shareholder Services & Trust Services


       We provide nominee shareholder services. For clients interested in succession planning involving their BVI business
       company shares we would invite you to consider the use of our trust services. Our experienced team of private wealth
       practitioners can advise you on this process. One of the key benefits of succession planning through trusts is avoiding the
       time, cost and publicity associated with a BVI probate application.


       Director Services


       Harneys Fiduciary offers both corporate directors and qualified professionals who may be appointed to serve as directors of a
       BVI Company. Provision of director services is considered on a case by case basis, however, taking into consideration the
       type of company and its activities.


       Bank Accounts


       We work closely with numerous financial institutions in the BVI and internationally and can help you open a bank account for
       your new company quickly and efficiently. We can provide authorised signatories for bank accounts and maintain and keep
       your financial records.


       Accounting Services


       Harneys Fiduciary has its own in-house accounting team specialising in the provision of bookkeeping and accounting
       services to meet the needs of companies, limited partnerships and trusts.


       Our accounting services include maintenance of financial records, preparation of monthly, quarterly, or annual management
       accounts, preparation of annual financial statements and liaising with external auditors and advisors as required.


       We can also provide access to auditors and other specialists outside our firm if this is necessary to meet your particular
       needs. Our connections both locally in the BVI and internationally are numerous and well established.


       Other Services


       Harneys Fiduciary also provides other services including liquidation services, authorised representative services, safe
       custody, escrow and a wide range of corporate secretarial services provided on an ad-hoc basis.


       If you have any questions or would like more information on any of the above services please contact us.




     harneysfiduciary.com                                      10                                                       4315095
                                                                                                          Effective October 2019
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                                   GENEVER HOLDINGS CORPORATION
                                    Incorporated in the British Virgin Islands
                                             Company No. 1862840
                                               (the Company)

                    WRITTEN RESOLUTIONS OF THE SOLE DIRECTOR OF THE COMPANY


   WHEREAS the Company’s registered agent has resigned, and the Company is currently struck‐off
   of the Registry of Corporate Affairs (the Registry) pursuant to s.213(1) of the BVI Business
   Companies Act 2004.

   WHEREAS the Company intends to rectify the status of the Company and place it back in good
   standing and in order to do so desires to appoint Harneys Corporate Services Limited of
   Craigmuir Chambers, P.O. Box 71, Road Town, Tortola, VG 1110, British Virgin Islands as its
   registered agent.

   I, the undersigned, being the sole director of the Company, DO HEREBY ADOPT the following
   resolutions:


       1. the Company change its registered agent to Harneys Corporate Services Limited of
           Craigmuir Chambers, P.O. Box 71, Road Town, Tortola, VG 1110, British Virgin Islands;

       2. the Company change its registered office to Craigmuir Chambers, Road Town, Tortola, VG
           1110, British Virgin Islands;

       3. a notice, in the approved form, of the change of registered agent and registered office of
           the Company, be filed with the BVI Registry of Corporate Affairs; and

       4. the sole director, any employee of Harneys Corporate Services Limited or any employee
           of Harney Westwood & Riegels LP, be and is hereby authorised to:

                  a. pay any outstanding fees due to the Registry;

                  b. execute or submit any document to the Registry; and

                  c. to take any and all other actions necessary to bring the Company into good
                     standing and to give full effect to the change of registered agent and registered
                     office; and
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       5. the terms and conditions of Harneys Corporate Services Limited for the provision of
           registered office and registered agent services (as amended or supplemented from to
           time) be and are approved, and the completion and execution of the Harneys Corporate
           Services Limited ‘transfer‐in pack’ for and on behalf of the Company by the sole director
           be and is hereby approved.

   Ho Wan Kwok hereby confirms that he has no conflict of interest in connection with the
   transactions contemplated by these resolutions.

   I have executed this director’s resolution this ……. day of August 2022.




   _______________________________


   Ho Wan Kwok – Director
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                                     Exhibit B

                          Letter to Harcus Parker Limited
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                                         Ho Wan Kwok
                                         [insert address]




 August [__], 2022

VIA EMAIL

Harcus Parker Limited
7th Floor
Melbourne House
44 - 46 Aldwych
London, WC2B 4LL
Attn: Jennifer Morrissey
Email: JMorrissey@harcusparker.co.uk

Re:    Kwok Ho Wan, Ace Decade Holdings Limited, and Dawn State Limited v. UBS AG
       (London Branch), Case No. CL-2020-000345 – Appointment of Trustee in Chapter
       11 Case of Ho Wan Kwok

Dear Ms. Morrissey:

This is to confirm to you that Luc A. Despins has been appointed as the trustee (the “Trustee”) in
my chapter 11 case, pending before the United States District Court for the District of
Connecticut (the “U.S. Bankruptcy Court”). All of my interests in the litigation against UBS AG
(London Branch) pending in the High Court of Justice, Business and Property Courts of England
and Wales, Queen’s Bench Division, Commercial Court (the “UBS Litigation”) is property of
my bankruptcy estate as a matter of United States bankruptcy law.

Upon Mr. Despins’ appointment as the Trustee, he exercises control over all property of the
bankruptcy estate, including my claim in the UBS Litigation, so that he now has authority and
standing to apply to be recognized as the appropriate party to prosecute my claim in the UBS
Litigation. As a matter of United States bankruptcy law, I have no authority or standing at this
time to prosecute the UBS Litigation.

In furtherance of the foregoing, and for the avoidance of doubt, I hereby expressly authorize you
to have full and complete discussions on my behalf with Mr. Despins regarding the UBS
Litigation, the merits thereof, any related settlement discussions, and any other topics related to
the prosecution of the UBS Litigation and to take instructions from him in relation to my claim
in the UBS Litigation regardless of any attorney-client privilege, work product, or other privilege
which belongs to me. Any waiver of privilege is limited to the provision of this information to
the Trustee. My consent is limited to giving access to the Trustee to the extent that I am entitled
and contains no wider waiver of privilege and is not consent by me to the Trustee to waive my
privilege.



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Among other things, and as detailed in the order of the U.S. Bankruptcy Court (a copy of which
is enclosed as Exhibit 1), I instruct you to (i) as soon as is practicable deliver to and share with
the Trustee all memoranda, advice, and other communications by you to me regarding the UBS
Litigation, any other information (whether in written form or not) regarding the merits of the
UBS Litigation, and any settlement offers received or made by me or you in connection with
such litigation, and (ii) as soon as is practicable provide the Trustee will full access to the parts
of your case file in the UBS Litigation to which I am entitled as well as all pleadings and other
court documents filed in the UBS Litigation.

Sincerely,



Ho Wan Kwok


cc: Luc A. Despins, in his capacity as trustee in the chapter 11 case of Ho Wan Kwok

Enclosure




                                                  2
